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 6

 7                      IN THE UNITED STATES DISTRICT COURT
 8                    FOR THE WESTERN DISTRICT OF WASHINGTON
                                  SEATTLE DIVISION
 9

10
     SCOTT LEATHAM,
11                                                Case No.
                        Plaintiff,
12
                 v.                               COMPLAINT FOR LONG-TERM
13                                                DISABILITY BENEFITS
     LIBERTY LIFE ASSURANCE COMPANY
14   OF BOSTON,
                                                  (Employee Retirement Income Security
15                                                Act of 1974, 29 U.S.C. § 1132(a)(1)(B)
                        Defendant.
16

17
          COMES NOW Plaintiff, Scott Leatham, with a complaint for long-term
18
     disability benefits and alleges against Defendant Liberty Life Assurance Company
19
     of Boston (“Liberty”):
20

21                               I.   CAUSE OF ACTION
22
                                            1.1
23

24        This action is brought on behalf of Plaintiff, pursuant to the Employee
25   Retirement Income Security Act of 1974, 29 U.S.C. § 1001, et seq. ("ERISA").
26
      Page 1 – COMPLAINT FOR LONG-TERM DISABILITY                           ROY LAW GROUP
                                                                              1000 SW Broadway, #900
               INSURANCE BENEFITS                                                  Portland, OR 97205
                                                                                    TEL 503-206-4313
                                                                                    FAX 855-344-1726
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 1   Plaintiff seeks to recover from Liberty, all unpaid long-term disability ("LTD")

 2   benefits pursuant to the terms of a long-term disability policy (“LTD Plan”)

 3   provided by Amazon Corporate, LLC, (“Amazon”), pursuant to 29 U.S.C. §

 4   1132(a)(1)(B). Plaintiff further seeks reinstatement of his LTD benefits pursuant to

 5   the terms of the LTD Plan. Plaintiff seeks these remedies, prejudgment and post

 6   judgment interest, plus his costs and reasonable attorney fees pursuant to 29

 7   U.S.C. § 1132(e)(1), (f) and (g).

 8
                          II.   IDENTIFICATION OF PLAINTIFF
 9

10                                            2.1

11
           At all material times herein, Plaintiff was a resident of the City of Redmond,
12
     King County, Washington.
13
                                              2.2
14

15         At all times material herein, Amazon employed Plaintiff and offered the LTD
16   Plan to its employees pursuant to ERISA, 29 U.S.C. § 1002(1).
17
                                              2.3
18

19         At all times material herein, Plaintiff was a participant under the LTD Plan.
20
                         III.   IDENTIFICATION OF DEFENDANT
21

22                                            3.1
23
           At all times material herein, Amazon was the sponsor of the LTD Plan
24
     pursuant to ERISA, 29 U.S.C. § 1002(16)(B).
25

26
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                                                                                      TEL 503-206-4313
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 1                                             3.2

 2
          At all times material herein, Amazon was the Plan Administrator of the LTD
 3
     Plan pursuant to ERISA, 29 U.S.C. § 1002(16)(B).
 4

 5                                             3.3

 6
          At all times material herein, Liberty was the claims administrator of the LTD
 7
     Plan pursuant to ERISA, 29 U.S.C. § 1002(16)(A).
 8

 9                                             3.4

10
          At all times material herein, the LTD Plan was fully insured by Liberty, and
11
     Liberty is wholly responsible for any judgment Plaintiff may obtain through this
12
     action for LTD benefits.
13
                            IV.   JURISDICTION AND VENUE
14

15                                             4.1
16
          Jurisdiction is conferred on this court by ERISA, 29 U.S.C. § 1132(e)(1), (f)
17
     and (g), which gives the United States district court’s jurisdiction to hear civil
18
     actions brought to recover plan benefits, as well as other declarative relief and
19
     attorney fees and costs, under ERISA.
20

21                                             4.2
22
          Venue is proper in this district court pursuant to ERISA, 29 U.S.C. §
23
     1132(e)(2) and pursuant to 28 U.S.C. § 1391.
24

25

26
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                                                                                  1000 SW Broadway, #900
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                                                                                        TEL 503-206-4313
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 1                                 V.    STANDARD OF REVIEW

 2
                                                5.1
 3

 4           Defendant’s denial of Plaintiff’s LTD benefits is reviewed by this court de

 5   novo.

 6
                             VI.        FACTS SUPPORTING CLAIM
 7

 8                                              6.1

 9
             Around March 12, 2013, Plaintiff became disabled.
10

11                                              6.2

12
             Around March 19, 2013, Liberty approved Plaintiff’s claim for short-term
13
     disability (“STD”) benefits.
14
                                                6.3
15

16           In a letter dated July 22, 2016, Liberty informed Plaintiff that his transition
17   from STD benefits to LTD benefits was being reviewed.
18
                                                6.4
19

20           Plaintiff’s claim for LTD benefits was based on a macroprolactinoma, pan-
21   pituitary adrenal insufficiency, headaches, and fatigue, among other things.
22
                                                 6.5
23

24           Plaintiff’s symptoms include severe adrenal crashes, headaches, extreme
25   fatigue, and impaired memory, among other things.
26
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                                                                                   1000 SW Broadway, #900
               INSURANCE BENEFITS                                                       Portland, OR 97205
                                                                                         TEL 503-206-4313
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 1                                            6.6

 2
          In a letter dated August 14, 2013, Liberty informed Plaintiff that, due to his
 3
     hire date, his claim was being reviewed under the “Pre-Existing Condition
 4
     Exclusion”.
 5

 6                                            6.7

 7
          In a letter dated September 6, 2013, Liberty denied Plaintiff’s claim for LTD
 8
     benefits.
 9

10                                            6.8

11
          In a letter dated October 21, 2013, Liberty, without having received a formal
12
     appeal, providing explanation, or referencing the “Pre-Existing Condition
13
     Exclusion,” approved Plaintiff’s claim for LTD benefits.
14
                                              6.9
15

16        In a letter dated January 20, 2015, Liberty, without explanation, approved
17   Plaintiff’s claim for LTD benefits under their any occupation definition.
18
                                             6.10
19

20        In a letter dated June 2, 2017, Liberty denied Plaintiff’s claim for LTD
21   benefits.
22
                                             6.11
23

24        In a letter dated September 24, 2017, Plaintiff, pro se, appealed Liberty’s
25   decision to deny his LTD benefits.
26
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                                                                                  1000 SW Broadway, #900
               INSURANCE BENEFITS                                                      Portland, OR 97205
                                                                                        TEL 503-206-4313
                                                                                        FAX 855-344-1726
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 1                                           6.12

 2
          In a letter dated January 15, 2018, Liberty upheld its decision to deny
 3
     Plaintiff’s LTD benefits.
 4

 5                                           6.13

 6
          Plaintiff has complied with all contractual requirements of the LTD Plan,
 7
     including but not limited to the submission of sufficient medical proof of his
 8
     ongoing medical conditions.
 9

10                                           6.14

11
          Liberty wrongfully denied Plaintiff’s claim for LTD benefits.
12

13                                           6.15

14        The wrongful denial of Plaintiff’s claim for LTD benefits was and still is a
15   violation of ERISA, 29 U.S.C. § 1132(a)(1)(B).
16
                                              6.16
17

18        As a direct and proximate result of the Liberty’s LTD claim denial, Plaintiff
19   has been damaged in the amount of each unpaid monthly LTD benefit payment
20   from June 8, 2017, through the date Plaintiff is no longer deemed disabled under
21   the LTD Plan.
22

23

24   //
25
     //
26
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                                                                                      TEL 503-206-4313
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 1                                                6.17

 2
             As a direct and proximate result of Liberty’s LTD claim denial Plaintiff is
 3
     entitled to recover pre-judgment interest, which is accruing on each unpaid
 4
     monthly LTD benefit payment from June 8, 2017 through the date of judgment.
 5

 6                                                6.18

 7
             As a direct and proximate result of Liberty’s LTD claim denial, Plaintiff has
 8
     incurred attorney fees and costs that are recoverable pursuant to ERISA, 29 U.S.C.
 9
     § 1132(g)(1).
10

11           WHEREFORE, Plaintiff prays for judgment against Defendant as follows:

12
             A.      For the gross unpaid monthly LTD benefit payments from June 8,
13
     2017 through the date of judgment pursuant to ERISA, 29 U.S.C. § 1132(a)(1)(B).
14
             B.      For a declaration that Defendant breached its fiduciary duty to
15
     Plaintiff by wrongfully denying Plaintiff's LTD claim, and estopping Defendant
16
     from continuing to deny Plaintiff’s LTD claim;
17

18           C.      For a declaration that Plaintiff is entitled to receive his full monthly
19   benefit under the LTD Plan for as long as she remains disabled under the LTD
20   Plan;
21
             D.      For Plaintiff's attorney fees and costs pursuant to ERISA, 29 U.S.C. §
22
     1132(g)(1);
23

24           E.      For prejudgment and post judgment interest; and
25

26
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                                                                                     1000 SW Broadway, #900
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                                                                                           TEL 503-206-4313
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 1      F.      For such further relief as the court deems just and equitable.

 2
        DATED this 10th day of May, 2019.
 3
                                               /s/ R. Darrin Class
 4                                             R. Darrin Class, WSBA 21925
 5                                             Chris Roy, WSBA 29070
                                               Roy Law Group
 6                                             1000 S.W. Broadway Suite 900
                                               Portland, OR 97205
 7                                             PH: 503-206-4313
                                               FAX: 855-344-1726
 8
                                               darrin@roylawgroup.com
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                                                                                 1000 SW Broadway, #900
              INSURANCE BENEFITS                                                      Portland, OR 97205
                                                                                       TEL 503-206-4313
                                                                                       FAX 855-344-1726
                                                                                   www.roylawgroup.com
